        Case 15-10053-elf            Doc 91 Filed 08/20/20 Entered 08/21/20 00:40:47                               Desc Imaged
                                           Certificate of Notice Page 1 of 3
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 15-10053-elf
Suzanne Maier                                                                                              Chapter 13
Suzanne Maier
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: JEGilmore                    Page 1 of 2                          Date Rcvd: Aug 18, 2020
                                      Form ID: 138NEW                    Total Noticed: 25


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 20, 2020.
db             +Suzanne Maier,   MAILING ADDRESS,    11 Hilltop Road,   Feasterville, PA 19053-6323
db             +Suzanne Maier,   11704 Corry Road,    Philadelphia, PA 19154-2513
cr             +PNC Bank, National Association,    c/o Donna M. Donaher, Esquire,    Tucker Arensberg, P.C.,
                 1500 One PPG Place,    Pittsburgh, PA 15222-5413
13452116        Equifax Credit Information Services, Inc,    P.O. Box 740256,    Atlanta, GA 30374-0256
13452117       +Experian,   P.O. Box 9701,    Allen, TX 75013-9701
13452118        Experian Information Systems,    Attn: Dispute Department,    P.O. Box 2002,
                 Allen, TX 75013-2002
13452119       +Innovis Data Solutions,    250 E. Town St.,   Columbus, OH 43215-4631
14443551       +PNC Bank National Association,    c/o Rebecca A. Solarz, Esq.,    701 Market Street, Ste 5000,
                 Philadelphia, PA 19106-1541
13541711       +PNC Bank, N.A.,   3232 Newmark Drive,    Miamisburg, OH 45342-5421
13452122       +PNC Mortgage,   3232 Newmark Drive,    Miamisburg, OH 45342-5433
13452123       +PNC Mortgage Bankruptcy Department,    Mail: B6-YM07-01-8,    3232 Newmark Drive,
                 Miamisburg, OH 45342-5421
13452124       +Police And Fire Federal Credit Union,    901 Arch Street,   Philadelphia, PA 19107-2495
13452126       +Target Credit,   TD Bank,    P.O. Box 673,   Minneapolis, MN 55440-0673
13452128       +Transunion Corporation,    2 Baldwinm Place,   P.O. Box 1000,    Chester, PA 19016-1000

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: megan.harper@phila.gov Aug 19 2020 04:12:07      City of Philadelphia,
                 City of Philadelphia Law Dept.,    Tax Unit/Bankruptcy Dept,    1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg             E-mail/Text: RVSVCBICNOTICE1@state.pa.us Aug 19 2020 04:11:42
                 Pennsylvania Department of Revenue,    Bankruptcy Division,    P.O. Box 280946,
                 Harrisburg, PA 17128-0946
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov Aug 19 2020 04:11:53        U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,   Room 1250,    615 Chestnut Street,    Philadelphia, PA 19106-4404
13452113       +E-mail/Text: EBN_IndianapolisIMC@receivemorermp.com Aug 19 2020 04:12:16
                 Berks Credit And Collections Inc.,    P.O. Box 329,   Temple, PA 19560-0329
13541580        E-mail/Text: megan.harper@phila.gov Aug 19 2020 04:12:07      City of Philadelphia,
                 Law Department Tax Unit,    Bankruptcy Group, MSB,    1401 John F. Kennedy Blvd., 5th Floor,
                 Philadelphia, PA 19102-1595
13452114       +E-mail/Text: documentfiling@lciinc.com Aug 19 2020 04:11:12       Comcast,    700 Dresher Road,
                 Horsham, PA 19044-2235
13452120        E-mail/Text: sbse.cio.bnc.mail@irs.gov Aug 19 2020 04:11:19       Internal Revenue Service,
                 Centralized Insolvency Operation,    P.O. Box 7346,   Philadelphia, PA 19101-7346
13506686        E-mail/PDF: pa_dc_claims@navient.com Aug 19 2020 04:12:30       Navient Solutions, Inc.,
                 P.O. Box 9640,   Wilkes-Barre, PA 18773-9640
13452121        E-mail/Text: RVSVCBICNOTICE1@state.pa.us Aug 19 2020 04:11:42       PA Department Of Revenue,
                 Attn: Bankruptcy Division,   P.O. Box 280946,    Harrisburg, PA 17128-0946
13452125        E-mail/PDF: pa_dc_claims@navient.com Aug 19 2020 04:12:57       Sallie Mae,    P.O. Box 9640,
                 Wilkes Barre, PA 18773-9640
13452127        E-mail/Text: bankruptcy@td.com Aug 19 2020 04:11:45      TD Bank,    P.O. Box 1377,
                 Lewiston, ME 04243
                                                                                               TOTAL: 11

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
13452115       ##+Eastern Accoiunt System,   75 Glen Rd. Suite 110,   Sandy Hook, CT 06482-1175
                                                                                              TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 20, 2020                                             Signature: /s/Joseph Speetjens
      Case 15-10053-elf       Doc 91 Filed 08/20/20 Entered 08/21/20 00:40:47                Desc Imaged
                                    Certificate of Notice Page 2 of 3


District/off: 0313-2          User: JEGilmore              Page 2 of 2                  Date Rcvd: Aug 18, 2020
                              Form ID: 138NEW              Total Noticed: 25

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 18, 2020 at the address(es) listed below:
              ANNE M. AARONSON    on behalf of Creditor    Police and Fire Federal Credit Union
               aaaronson@dilworthlaw.com,
               mdolan@dilworthlaw.com;cchapman-tomlin@dilworthlaw.com;mferrier@dilworthlaw.com
              DAVID NEEREN     on behalf of Creditor    PNC Bank, National Association dneeren@udren.com,
               vbarber@udren.com
              DONNA M. DONAHER    on behalf of Creditor    PNC Bank, National Association donaherd@fnb-corp.com
              HAROLD N. KAPLAN    on behalf of Creditor    PNC Bank, National Association hkaplan@rasnj.com
              MICHAEL W. GALLAGHER    on behalf of Debtor Suzanne Maier mwglaw@msn.com, mwglaw1@verizon.net
              NICOLE B. LABLETTA    on behalf of Creditor    PNC Bank, National Association
               nlabletta@pincuslaw.com, brausch@pincuslaw.com
              REBECCA ANN SOLARZ    on behalf of Creditor    PNC Bank, National Association
               bkgroup@kmllawgroup.com
              SHERRI J. SMITH    on behalf of Creditor    PNC Bank, National Association
               sherri.braunstein@phelanhallinan.com, pa.bkecf@fedphe.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
              WILLIAM C. MILLER    on behalf of Trustee WILLIAM C. MILLER, Esq. ecfemails@ph13trustee.com,
               philaecf@gmail.com
              WILLIAM C. MILLER, Esq.    ecfemails@ph13trustee.com, philaecf@gmail.com
                                                                                              TOTAL: 11
  Case 15-10053-elf          Doc 91 Filed 08/20/20 Entered 08/21/20 00:40:47                        Desc Imaged
                                   Certificate of Notice Page 3 of 3
                                 UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re: Suzanne Maier and Suzanne Maier
               Debtor(s)                                  Bankruptcy No: 15−10053−elf
                                                          Chapter: 13
_____________________________________________________________________________________________


                                             NOTICE OF DEADLINES

To the debtor, debtor's counsel, trustee, and all creditors and parties in interest, NOTICE IS GIVEN
THAT:

     1. The Standing Chapter 13 Trustee has filed his final report and account.

      2. Any objection to the Final Report and Account pursuant to Federal Rule 5009, must be
filed within 30 days from the date of this Notice with the Clerk of the U.S. Bankruptcy Court.

      3. Any objection to the entry of the Debtor(s)' Order of Discharge or request to delay the
entry of discharge pursuant to 11 U.S.C. § l 328(h), must be filed in writing within 14 days from
the date of this Notice with the Clerk of the U.S. Bankruptcy Court.
     4. All objections must be filed with the Clerk at the following address:

                                        900 Market Street
                                             Suite 400
                                      Philadelphia, PA 19107

    5. In the absence of any objection, the Court may approve the Trustee's Final Report and
Account and enter the Order of Discharge.




                                                                                      For The Court
                                                                                Timothy B. McGrath
                                                                                     Clerk of Court


Dated: 8/18/20
                                                                                                               89 − 88
                                                                                                         Form 138_new
